Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 1 of 12 PageID #: 1014




             Exhibit 3
Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 2 of 12 PageID #: 1015




                                                                           App. 024
Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 3 of 12 PageID #: 1016




                                                                           App. 025
Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 4 of 12 PageID #: 1017




                                                                           App. 026
Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 5 of 12 PageID #: 1018




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Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 6 of 12 PageID #: 1019




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Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 7 of 12 PageID #: 1020




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Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 8 of 12 PageID #: 1021




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Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 9 of 12 PageID #: 1022




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Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 10 of 12 PageID #: 1023




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Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 11 of 12 PageID #: 1024




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Case 5:23-cv-00032-RWS Document 59-5 Filed 12/08/23 Page 12 of 12 PageID #: 1025




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